                           Case 14-50333-gs                Doc 20        Entered 03/24/14 11:25:56             Page 1 of 2



                     1   ALAN R. SMITH, ESQ.
                         Nevada Bar No. 1449
                     2   HOLLY E. ESTES, ESQ.
                         Nevada Bar No. 11797                                                                ELECTRONICALLY FILED
                     3   Law Offices of Alan R. Smith                                                            March 24, 2014
                         505 Ridge Street
                     4   Reno, Nevada 89501
                         Telephone (775) 786-4579
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                         E-mail: mail@asmithlaw.com
                     6
                         Attorney for Debtors
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                     8
                     9                                      UNITED STATES BANKRUPTCY COURT
                 10                                                      DISTRICT OF NEVADA
                 11                                                                —ooOoo—
                 12      In Re:                                                                 Case No. BK-N-14-50333-BTB
                 13      ANTHONY THOMAS and                                                     Chapter 11
                         WENDI THOMAS,
                 14                                                                             DECLARATION OF HOLLY E.
                                             Debtors,                                           ESTES, ESQ., IN SUPPORT OF EX
                 15                                                                             PARTE MOTION FOR ORDER
                                                                                                SHORTENING TIME FOR NOTICE
                 16                                                                             AND HEARING ON MOTION FOR
                                                                                                AUTHORITY TO PAY ORDINARY
                 17                                                                             MONTHLY LIVING EXPENSES
                                                                                                NUNC PRO TUNC
                 18
                                                                                                [Order Shortening Time Pending]
                 19      __________________________________/
                 20                I, HOLLY E. ESTES, hereby declare under penalty of perjury that the following
                 21      assertions are true:
                 22                1. I am the court appointed general counsel for the Debtors in the above-
                 23      captioned Chapter 11 case. I have personal knowledge of the facts herein stated, and if
                 24      called to testify as to such facts I would and could do so competently.
                 25                2.    I have caused to be filed today an Ex Parte Motion For Order Shortening Time
                 26      For Notice and Hearing on Motion For Authority To Pay Ordinary Monthly Living
                 27      Expenses Nunc Pro Tunc.
                 28      ///
  Law Offices of
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                           Case 14-50333-gs                Doc 20        Entered 03/24/14 11:25:56       Page 2 of 2



                     1             3.    Pursuant to the Motion For Authority To Pay Ordinary Monthly Living
                     2   Expenses Nunc Pro Tunc, the Debtors seek an order authorizing the Debtors’ payment of
                     3   ordinary monthly living expenses nunc pro tunc. Ordinary notice requirements cannot be
                     4   met without an order shortening time for a hearing to approve the Motion For Authority
                     5   To Pay Ordinary Monthly Living Expenses Nunc Pro Tunc.
                     6             DATED this 24th day of March, 2014.
                     7
                                                                                      By:     /s/ Holly E. Estes
                     8                                                                  HOLLY E. ESTES, ESQ.
                                                                                        Attorney for Debtors
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